                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-23-00403-CV

SHARLENE BAKER, Appellant                  §   On Appeal from County Court at Law No. 3

                                           §   of Tarrant County (2021-005391-3)
V.
                                           §   August 22, 2024
FERRIER BUILDERS, INC., Appellee           §   Memorandum Opinion by Justice Kerr


                                    JUDGMENT

       This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the trial court’s judgment

is affirmed.

       It is further ordered that Appellant Sharlene Baker must pay all costs of this

appeal.


                                       SECOND DISTRICT COURT OF APPEALS


                                       By _/s/ Elizabeth Kerr__________________
                                          Justice Elizabeth Kerr
